UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
Chambers of 101 West Lombard Street
George L. Russell, II Baltimore, Maryland 21201
United States District Judge 410-962-4055

February 7, 2022

MEMORANDUM TO COUNSEL:

Re: USA v. Stephen L. Snyder
Criminal No. GLR-20-0337

Dear Counsel:

Pursuant to Defendant’s request for a hearing (ECF No. 84) on the Brady Motion (ECF
No. 69), the Government’s Opposition thereto (ECF No. 85) and Defendant’s Reply (ECF No. 86),
a hearing is scheduled for Thursday, May 12, 2022 at 10:00 in Courtroom 7A. The Court has
allocated one hour for argument.

Despite the informal nature of this Memorandum, it shall constitute an Order of this Court,
and the Clerk is directed to docket it accordingly.

Very truly yours,

pet 2

George L. Russell, III
